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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


R.F. TECHNOLOGIES, INC., an Illinois                 )
Corporation, et al.,                                 )
                                                     )
                              Plaintiffs,            )
                                                     )
               v.                                    )       Case No. 17 C 1886
                                                     )
LeCLAIR RYAN, P.C., a Virginia                       )
Professional Corporation, et al.,                    )
                                                     )
                              Defendants.            )


                                  MEMORANDUM ORDER

       On July 28, 2017 plaintiffs R.F. Technologies, Inc. and Bob Noorian entered into a

Settlement Agreement (Dkt. No. 6) with one of the defendants in this case, Greenberg Traurig,

LLP ("GT"). Three days later those parties submitted a "Joint Motion for a Good Faith Finding"

(the "Joint Motion," Dkt. No. 37) under the Illinois Joint Tortfeasor Contribution Act (the

"Contribution Act," 740 ILCS 100/1 et seq.). This Court then issued an August 3 memorandum

order inquiring as to whether the remaining defendants -- LeClair Ryan, P.C. and Thomas

O'Leary (collectively "LeClair Defendants") -- planned to file any challenge to the Joint Motion.

Lastly, on August 17 the LeClair Defendants filed a one sentence "Statement Regarding Joint

Motion for Good Faith Finding" (Dkt. No. 40) confirming "that they do not plan to file any

challenge to the Joint Motion for Good Faith Finding."

       That series of events allows this Court to turn to the Joint Motion. It has done so, and it

hereby confirms that the Settlement Agreement was entered into in good faith, as set forth in the

Contribution Act. Accordingly both the Complaint and this action are dismissed with prejudice
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and without costs. Because this memorandum order disposes of fewer than all of the parties and

fewer than all of the claims for relief in this action, this Court expressly determines that there is

no just reason for delay and directs entry of a final judgment as to its subject matter (see

Fed. R. Civ. P. 54(b)).




                                               __________________________________________
                                               Milton I. Shadur
                                               Senior United States District Judge
Date: August 23, 2017




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